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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


--------------------------------------------------------------- X
IN RE: NATIONAL PRESCRIPTION OPIATE :
LITIGATION                                                      :
                                                                :   MDL No. 2804
This document relates to:                                       :
                                                                :   Hon. Dan Aaron Polster
All cases identified in Exhibit A                               :
                                                                :
--------------------------------------------------------------- X




         POSITION STATEMENT OF THE NEW YORK ATTORNEY GENERAL
          IN SUPPORT OF SETTLING DISTRIBUTORS’ MOTION TO DISMISS
                CLAIMS FILED BY NON-PARTICIPATING NEW YORK
                     SUBDIVISIONS AS BARRED BY STATUTE




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       Letitia James, the Attorney General of the State of New York, respectfully submits this

Position Statement in support of Settling Distributors’ Motion (Dkt. No. 4398) (the “Motion”) to

dismiss the claims of certain New York subdivisions as barred by New York’s Mental Hygiene

Law § 25.18(d) (the “Act”), in accordance with the Court’s request in its Order entered on April

25, 2022.

                                PRELIMINARY STATEMENT

       The Motion before the Court relies on the application of the Act, a landmark piece of

legislation passed with full bipartisan support by the New York State Senate and Assembly to

address New York’s opioid crisis. The Act has already facilitated settlements entered into by the

New York Attorney General with opioid defendants, including the Settling Distributors, that will

bring into the State over $1.5 billion in much needed funds to address the myriad harms of the

opioid epidemic. As an integral part of the Act, the Legislature imposed certain limitations on the

ability of political subdivisions to assert and maintain claims against opioid defendants where

those claims are released by the Attorney General as part of a statewide opioid settlement. This

limitation has assisted the State in recovering the maximum funds possible under opioid

settlements entered into with the Settling Distributors and other opioid defendants by enabling

New York to deliver claim releases to those parties for 100% of its subdivisions.

       The plaintiffs opposing the Motion are all political subdivisions of New York (hereafter,

“NY Subdivisions”). They seek to invalidate the Act because the Attorney General released their

claims against the Settling Distributors in the actions listed on the attached Exhibit A, and

thereby extinguished those claims by operation of the limitation imposed by the Legislature. The

NY Subdivisions’ opposition (Dkt. No. 4445) (“Opposition”) principally asks that this Court put

the Settling Distributors’ Motion on a shelf to await the outcome of a lawsuit that a handful of
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them initiated in the United States District Court for the Eastern District of New York (the

“EDNY Action”), including any appeal, and makes only passing reference to the two claims in

that case asserting violations of “federal and state constitutions” – namely, that the Act is

preempted by the Petition Clause of the First Amendment and violates the “Home Rule”

provision of Article IX of the New York Constitution. See Opposition at 3-4, Exh. B at ¶¶ 19, 26,

32, 41-45.

       This Court should reject the request by the NY Subdivisions to defer ruling on the

Motion until the EDNY Action is resolved on appeal, which could take years. The Motion

presents an issue of paramount importance for statewide opioid settlements – the enforceability

of laws enacted by ten states (thus far) placing limitations on subdivision claims against released

opioid defendants to facilitate statewide opioid settlements. This Court, chosen to supervise

pretrial proceedings in all federal opioid actions, should hear and decide this question without

delay or deferral to other courts.

       Turning to the merits of the Motion, the Act requires the Court to dismiss the NY

Subdivisions’ claims for multiple reasons.

       As a threshold matter, under settled law New York’s political subdivisions lack the legal

capacity to challenge acts of the legislature except in very limited circumstances, none of which

apply here. But even if the NY Subdivisions did have the legal capacity to challenge the Act,

their arguments are without merit. The Act does not conflict with the Petition Clause because

under that constitutional provision, the right of access to courts is guaranteed to the public, not

government entities. Accordingly, it does not conflict with the limitation in the Act on the ability

of political subdivisions to assert and maintain claims against released opioid defendants. And in

any event, the Petition Clause protects only the right of access to courts, not the right to assert

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any particular cause of action that a legislature may otherwise choose to abrogate or limit.

        The NY Subdivisions’ other challenge under the Home Rule provision of the New York

Constitution fares no better. New York courts have long held that where, as here, a statute bears

a reasonable relationship to addressing an important state interest, it is not subject to home-rule

restrictions, even if the legislation simultaneously relates to the property, affairs or government

of a local government.

        For these reasons, the Act is a valid exercise of authority by the New York Legislature

and the Settling Distributors’ Motion should be granted in its entirety.

                                         BACKGROUND

   A.      New York’s Response to the Opioid Crisis

        The New York Legislature, with the strongest possible showing of bipartisan support,

amended the State’s laws to address the devastating impact of the opioid crisis in New York. By

a unanimous vote in both the Assembly and Senate, the Legislature passed a bill in June 2021 to

amend the State Finance Law, Mental Hygiene Law, and Executive Law for the purpose of

establishing an opioid settlement fund and advisory board to ensure that substantial monies

generated by judgments and settlements from statewide opioid litigation against manufacturers,

distributors, and dispensers are dedicated towards substance use disorder prevention, treatment

and recovery. See New York Sponsors Memorandum, 2021 S.B. 7194, available at

https://www.nysenate.gov/legislation/bills/2021/S7194. In justifying the need for an opioid

settlement fund, the Legislature cited to the potential liability of defendants in lawsuits brought

by New York and other states against opioid defendants, including the Settling Distributors:

                       While a number of factors helped cause the overdose
               epidemic, one significant element was the huge increase in
               prescribing of opioid medications that began in the 1990s. Yet, for

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               years, the corporations that manufactured, distributed, and sold
               these drugs willfully ignored or misrepresented the impact of these
               medications and the extent of the problem. To hold them
               accountable for their actions . . . New York, along with other states
               and localities, have brought a number of lawsuits and other
               enforcement actions against these entities. . . .

                       The lawsuits and enforcement actions that New York is
               currently taking against manufacturers and distributors of opioids
               could result in the State receiving millions of dollars. Any money
               obtained from these lawsuits must be used to address the harms
               caused by drug use and by the ways in which drug laws have been
               enforced.

Id. (emphasis added). The Governor signed this legislation into law on June 29, 2021. Id.

       The Act consists of a number of critical components. First, the Legislature amended the

State Finance Law to establish a special, segregated “opioid settlement fund” that “shall not be

commingled with any other funds in the custody of the state comptroller” to receive money paid

to the state “as a result of the settlement of litigation” or “judgments” or other resolution of

claims against opioid defendants, with such funds to be expended only on eligible approved uses

for “prevention, treatment, harm reduction and recovery services related to substance use

disorders and co-occurring mental illnesses” in accordance with the terms of statewide opioid

settlements. N.Y. Finance Law § 99-nn.

       Second, the Legislature amended the Mental Hygiene Law to: (i) define key terms to be

used in statewide settlements between the State and opioid defendants, including what qualifies

as a statewide opioid settlement, an approved use for monies in the opioid settlement fund, and a

government subdivision that may participate in statewide opioid settlements; (ii) require the

appropriation of monies in the opioid settlement fund for distribution to subdivisions upon their

application consistent with the approved uses, with detailed accounting by each subdivision

receiving a distribution demonstrating “how the funds were used as well as an analysis and

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evaluation of the services and programs funded;” and (iii) establish an advisory board under the

New York Office of Addiction Services and Supports (“OASAS”) to provide recommendations

to the Legislature on how funding received by the opioid settlement fund shall be allocated. N.Y.

Mental Hygiene Law § 25.18(a)-(c).

       Third, to strengthen the negotiating position of the State when seeking to enter into

statewide opioid settlements for the purpose of maximizing the funds to be received, the

Legislature amended the Mental Hygiene Law to bar subdivisions from filing future claims and

extinguish past claims asserted by subdivisions after June 30, 2019 when released by the

Attorney General as part of a statewide opioid settlement. N.Y. Mental Hygiene Law

§ 25.18(d).1 More specifically, this negotiation-enhancing clause provides as follows:

               (d) Limitation on authority of government entities to bring
               lawsuits. No government entity shall have the authority to assert
               released claims against entities released by the [Office of the
               Attorney General] in a statewide opioid settlement agreement
               executed by the [Office of the Attorney General] and the released
               party on or after June first, two thousand twenty-one. Any action
               filed by a government entity after June thirtieth, two thousand
               nineteen asserting released claims against a manufacturer,
               distributor, or dispenser of opioid products shall be extinguished



1
  The NY Subdivisions assert that the Act does not extinguish their claims “under the New York
State Drug Dealer Liability Act.” Opposition at 1. That assertion is plainly wrong. Section
25.18(d) broadly applies to all “released claims released” by the Attorney General in a statewide
opioid settlement agreement.” N.Y. Mental Hygiene Law § 25.18(d). The Attorney General has
released the Distributors from all “Released Claims” as defined in the Distributors Settlement
Agreement (see Motion, Exhibit C at pdf pages 9-10), and that term, intended to “be interpreted
broadly,” includes without limitation any claim asserted by a “Litigating Subdivision in any
federal, state or local action or proceeding . . . based on, arising out of, or relating to” any
“alleged act, failure to act, negligence, statement, error, omission, breach of any duty, conduct,
event, transaction, agreement, misstatement, misleading statement or other activity of any kind
whatsoever . . . relating in any way to” the manufacture, marketing, distribution, or dispensing of
opioid products. Motion, Exhibit B at II.L, ZZ, AAA. The release provided by the Attorney
General certainly encompasses claims under the New York State Drug Dealer Liability Act.

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               by operation of law upon being released by the [Office of the
               Attorney General] in such statewide opioid settlement agreement.

Id. This provision recognizes the economic reality of the negotiating dynamics between the State

and opioid defendants – namely, that the more subdivision claim releases the Attorney General

can deliver to an opioid defendant as part of a statewide opioid settlement with that defendant,

the greater the amount of money the defendant will pay into the opioid settlement fund, thereby

maximizing the recovery for the State and its residents.

       In addition to New York, nine other states have enacted provisions that place limitations

on the authority of subdivisions to assert claims against settling opioid defendants and/or

authorize the state’s attorney general to release such claims. The chart below summarizes all of

these statutory limitations on subdivision authority:

    State                   Citation                                    Description
 Connecticut      Conn. Gen. Stat. Ann. § 3-         The attorney general is authorized to “enter
                  129h (effective June 23,           into any agreement concerning any state-wide
                  2021)                              opioid claim, including an agreement to
                                                     compromise, release, waive or otherwise
                                                     settle such claim, on behalf of the state and
                                                     any political subdivisions,” and subdivisions
                                                     are barred from asserting any future “state-
                                                     wide opioid claim for which the state has
                                                     entered into” a settlement agreement.
 Delaware         16 Del. C. § 4809B                 “No government entity has the authority to
                  (effective October 14, 2021)       assert released claims after February 28, 2021
                                                     against entities released by the Department of
                                                     Justice in a statewide opioid settlement
                                                     agreement executed by the Attorney General
                                                     and the released party.”
 Georgia          Ga. Code Ann. § 10-13B-            “Entry into a state-wide opioid settlement
                  3(a) (effective May 2, 2022)       agreement shall serve to bar any and all past,
                                                     present or future claims on behalf of any
                                                     governmental entity seeking to recover
                                                     against any business or person that is a
                                                     released entity under the terms of the relevant
                                                     settlement. . . . No such claim barred by this
                                                     Code section shall be brought, threatened,

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                                                  asserted or pursued in any way in any court,
                                                  and any such claim shall be dismissed by the
                                                  court in which the claim is brought.”
Illinois      735 ILCS 5/13-226 (b)               Future claims by subdivisions are barred
              (effective July 9, 2021)            against an opioid defendant that is subject to a
                                                  national multistate opioid settlement without
                                                  the attorney general’s approval, and the
                                                  attorney general is authorized to “release with
                                                  prejudice any [pending] claims brought by a
                                                  unit of local government or school district
                                                  against an opioid defendant that are subject to
                                                  a national multistate opioid settlement”
                                                  provided counties representing 60% of the
                                                  population of Illinois, including all counties
                                                  with a population of at least 250,000, have
                                                  entered into an intrastate allocation agreement
                                                  with the attorney general.
Indiana       IC 4-6-15-3 (effective March        “After January 1, 2021, no political
              10, 2022)                           subdivision shall initiate or file opioid
                                                  litigation in any court.”
Kansas        K.S.A. 75-780 (effective            Barring any municipality from filing or
              May 27, 2021)                       becoming a party to opioid litigation on and
                                                  after January 1, 2021 without prior approval
                                                  of the attorney general and requiring any such
                                                  municipality to “withdraw such opioid
                                                  litigation.”
Kentucky      Ky. St. § 15.293(4)(d)              To the extent a settlement has been reached
              (effective March 24, 2021 to        with certain specific opioid defendants, each
              April 25, 2022)                     subdivision “shall be deemed to have released
                                                  its claims against” those settling defendants.
New York      Mental Health Law                   Barring government entities from asserting
              §25.18(d) (effective June 29,       claims against opioid defendants released by
              2021)                               the attorney general in a statewide opioid
                                                  settlement on or after June 1, 2021 and
                                                  extinguishing any action filed by a
                                                  government entity after June 30, 2019
                                                  asserting released claims against an opioid
                                                  defendant upon being released pursuant to a
                                                  statewide opioid settlement.
Tennessee     T.C.A. § 47-17-105                  Upon the attorney general entering into a
              (effective May 24, 2021)            statewide opioid settlement agreement, no
                                                  subdivision shall have the authority to assert
                                                  any released claim against any settling
                                                  defendant and “[a]ny pending or future
                                                  litigation brought by a [subdivision] asserting
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                                                       released claims against released entities shall
                                                       be dismissed with prejudice.”
    Wisconsin        W.S.A. 165.12 (effective          Barring any political subdivision that is not a
                     July 2, 2021)                     party to opioid litigation as of June 1, 2021
                                                       from maintaining or commencing “any action
                                                       related to opioids against” an opioid
                                                       defendant released in a settlement agreement
                                                       with the state.


      B.      New York’s Statewide Opioid Settlement with Distributors

           On July 20, 2021, the Attorney General entered into a statewide opioid settlement with

the Settling Distributors. See Motion at 1, Exhibit B. A key feature of the settlement is that the

amount of the payment to New York depends in part on the percentage of subdivisions that

“participate,” with the maximum payment to the State achieved with 100% participation. See id.,

Exhibit B at Sections V.E, V.F, V.F.1.b, and V.F.4.2 Pursuant to the terms of the settlement,

subdivision participation is accomplished in one of three ways: (i) for subdivisions that asserted

claims against the Settling Distributors on or before June 30, 2019, by execution of a

subscription form agreement pursuant to which they agree to participate in the settlement, be

bound by its terms, and release their claims; (ii) for subdivisions that asserted claims against the

Settling Distributors after June 30, 2019, by the extinguishment of their claims under § 25.18(d)

upon being released by the Attorney General; and (iii) for subdivisions that have not asserted

claims against the Settling Distributors, pursuant to the bar against asserting future claims under

§ 25.18(d) when released by the Attorney General. Id. at Section V.F.1.b.




2
 The maximum settlement amount payable to New York (the “New York Abatement Amount”)
consists of a base payment (55% of the total) and incentive payments (45% of the total). See
Motion, Exhibit B at Sections II.AA, V.E and V.F.

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       The State achieved 100% participation in the settlement from all subdivisions through a

combination of executed subscription forms and operation of § 25.18(d), and thereby obtained

the maximum payment available from the Settling Distributors under the settlement terms.3 See

Motion, Exhibit C at pdf pages 2-3. More specifically with respect to the NY Subdivisions – all

of which are subdivisions that asserted their claims against the Settling Distributors after June

30, 2019 (see Motion, Exhibit A) – the Attorney General released their claims as part of the

settlements (see id., Exhibit C at pdf page 9-10), which extinguished their claims under

§ 25.18(d) and deemed them to be “participating subdivisions.” See id., Exhibit B at Section

IV.A (providing that a litigating subdivision becomes a “participating subdivision” “by having

its claims extinguished by operation of law or released by the” Attorney General).

       For the Settling Distributors’ settlement, § 25.18 together with the applicable intrastate

sharing agreement specify how settlement funds will be allocated. Per the intrastate sharing

agreement, direct payments will be made by the Settling Distributors to all counties and the six

largest cities by population (New York City, Buffalo, Rochester, Yonkers, Syracuse, and

Albany), and the New York State Legislature will appropriate the remaining funds to be used

exclusively for abatement purposes. Pursuant to the statute, the appropriated funds will be

“distributed regionally and in accordance with the statewide opioid settlement agreements to

ensure adequate geographic disbursement across the state.” N.Y. Mental Hygiene Law



3
  New York became eligible to receive the full amount of the incentive payments in addition to
the base payment by qualifying for Incentive Payment A (40%) and Incentive Payment D (5%)
through: (a) for Incentive Payment A, the voluntary release of claims by all litigating
subdivisions that asserted claims on or before June 30, 2019 and the extinguishment of claims by
all litigating subdivisions that asserted claims after June 30, 2019 by operation of § 25.18(d) (see
Motion, Exhibit B at Section V.F.1.b); and (b) for Incentive Payment D, the bar against future
claims under § 25.18(d) (id. at Section V.F.4.a).

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§ 25.18(b)(1); New York Opioid Settlement Sharing Agreement at Section II.B, available at

https://nationalopioidsettlement.com/wp-content/uploads/2021/09/NY-Sharing-Agreement.pdf.4

       While the criteria and process for distributing funds through an appropriation have yet to

be announced, at a minimum, subdivisions like the NY Subdivisions – which do not receive a

direct share of the settlement funds – will be eligible to apply for discretionary distributions.

Moreover, subdivisions that are cities, towns, villages, and special districts may qualify to

receive distributions from the counties in which they are situated out of the direct payments those

counties receive.

       Finally, even if a specific subdivision does not qualify to receive a distribution from a

statewide opioid settlement, their residents may nevertheless benefit from opioid treatment and

prevention measures undertaken at the county level using settlement funds distributed to the

counties in which they reside. For example, residents of the NY Subdivisions may directly

benefit from the opioid treatment and prevention programs established by counties in which they

reside using opioid settlement funds those counties receive, even though the subdivisions

themselves do not directly receive a distribution of opioid settlement funds.




4
  After entering into the statewide settlement with the Settling Distributors, New York entered
into a global settlement with the Settling Distributors along with many other states as indicated
was New York’s intention in the “Overview” of the statewide agreement (see id., Exhibit B at
Section I). Because the global settlement became effective prior to July 1, 2022, as a technical
matter its terms supersede the terms of the statewide agreement except for three sections that are
not applicable here. See id. However, the global agreement has parallel terms governing the
payment amount and eligibility requirements for base and incentive payments so there is no
distinction between the two agreements as to those provisions. Compare id., Exhibit B with
Distributors Settlement Agreement, available at https://nationalopioidsettlement.com/wp-
content/uploads/2022/03/Final_Distributor_Settlement_Agreement_3.25.22_Final.pdf.



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   C.      Procedural History

        The NY Subdivisions initially commenced an action challenging the Act on August 3,

2021 in the United States District Court for the Eastern District of New York. See Village of

Amityville, et al. v. State of New York, Case No. 2:21-cv-04358 (E.D.N.Y.) (Dkt. No. 2). After

the State filed a notice of its intention to move to dismiss the complaint, the NY Subdivisions

filed a notice of voluntary dismissal on September 9, 2021, and the court ordered the case

dismissed and closed the next day. Id., Dkt. Nos. 14, 15.

        Many months later, in March 2022, a much smaller group of nine New York subdivisions

(the Towns of Babylon, Brookhaven, Hempstead, Islip, Oyster Bay, North Hempstead,

Huntington, Ramapo, and Smithtown) initiated the EDNY Action against the Attorney General.

See Opposition, Exhibit B. The plaintiffs in the EDNY Action allege they are all governmental

subdivisions within the meaning of the Act and are subject to the limitations on their authority to

pursue claims against opioid defendants set forth in § 25.18(d). Id. at ¶ 3. Although difficult to

parse in the absence of any enumerated causes of action, their complaint appears to assert two

claims: (i) a federal-law claim alleging that § 25.18(d) is preempted by the Petition Clause of the

First Amendment applicable through the Supremacy Clause of the U.S. Constitution (id. at ¶¶ 26,

32-33, 35); and (ii) a state-law claim alleging that § 25.18(d) violates the “Home Rule” article of

the New York Constitution (id. at ¶¶ 24, 41-45).

                                          ARGUMENT

   I.      THE COURT SHOULD NOT DEFER RULING ON THE IMPORTANT ISSUE
           RAISED BY THE SETTLING DISTRIBUTORS’ MOTION

        The NY Subdivisions ask this Court to defer ruling on the Motion until the Attorney

General’s motion to dismiss the EDNY Action involving a small subset of the NY Subdivisions


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“is resolved, whether by the district court in New York or on any appeal” – which could take

years. Opposition at 3 (emphasis added). The Court should reject this invitation to shelve the

Motion and sit on the sidelines.

         The Motion presents an issue of paramount importance for statewide opioid settlements –

namely, the enforceability of laws enacted by states, not just New York, that place limitations on

the ability of government subdivisions to initiate and maintain claims against released opioid

defendants for the purpose of maximizing the settlement funds that states are able to recover.

Nine other states have joined New York in enacting some form of statutory limitation on

subdivision claims against settling opioid defendants that are released by the state attorney

general – Delaware, Connecticut, Georgia, Illinois, Indiana, Kansas, Kentucky, Tennessee, and

Wisconsin. See, supra, at 6-8. As the enforceability of these state statutes will involve multiple

states and multiple statewide opioid settlements impacting subdivisions across the country, it is

necessary and appropriate for this Court – the forum to which all federal opioid actions have

been transferred for pretrial proceedings by the Judicial Panel on Multidistrict Litigation – to

hear and decide the enforceability of these statutes without deferral to other courts and

potentially years of delay. Moreover, there is minimal risk of inconsistent rulings because any

decision by this Court upholding the Act will have preclusive effect on the NY Subdivisions who

are plaintiffs in the EDNY Action, and the judge in that case has indicated that she “can’t

promise” the parties will receive “a decision by the end of the year.” See May 3, 2022 Transcript

of Pre-Motion Conference at 17:9-10, the relevant excerpt of which is attached as Exhibit B.

         Accordingly, the Court should hear and decide the Settling Distributors’ Motion without

delay.



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   II.      THE NY SUBDIVISIONS LACK THE LEGAL CAPACITY TO CHALLENGE
            § 25.18(d) OF THE MENTAL HYGIENE LAW

         As a threshold matter, the NY Subdivisions lack the legal capacity to challenge the Act.

The capacity of a political subdivision to sue and be sued is governed by state law. See Fed. R.

Civ. P. 17(b)(3); Centro De La Comunidad Hispana De Locust Valley v. Town of Oyster Bay,

954 F. Supp. 2d 127, 136–37 (E.D.N.Y. 2013), aff'd, 868 F.3d 104 (2d Cir. 2017). Under New

York law, as a general matter “municipalities and other local governmental corporate entities and

their officers lack capacity to mount constitutional challenges to acts of the State and State

legislation.” City of New York v. State of New York, 86 N.Y.2d 286, 289 (1995) (cited by In re

World Trade Center Lower Manhattan Disaster Site Litig., 30 N.Y.3d 377, 384 (2017) (“Matter

of WTC”)). Although not absolute, New York’s broad proscription on political subdivisions

challenging state laws can be evaded only in rare cases. Matter of WTC, 30 N.Y.3d at 387 (“We

stress that the exceptions we have recognized to date are narrow.”).

         The New York Court of Appeals has expressly recognized only two exceptions arguably

relevant here: (i) where a public entity is vested with a proprietary interest in a specific fund by

law and the challenged statute adversely affects its interest in the fund; and (ii) where a state

statute impinges on a municipality's home rule powers under the State Constitution. Id. at 386.

Neither of these narrow exceptions applies here.

         To invoke the proprietary-interest exception, a political subdivision must identify discrete

funds to which it is otherwise entitled and a piece of legislation that specifically withholds those

funds. See County of Rensselaer v. Regan, 80 N.Y.2d 988, 990-91 (1992). There is no language

in the Act that specifically withholds from the NY Subdivisions access to any discrete funds.

Rather, the statute extinguishes the NY Subdivisions’ right to pursue claims previously asserted


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against opioid manufacturers, distributors, and dispensers upon such claims being released by the

Attorney General in a statewide opioid settlement agreement. N.Y. Mental Hygiene Law

§ 25.18(d). To the extent the NY Subdivisions suggest that they have a proprietary interest in

potential recoveries associated with their previously asserted claims, such an inchoate right to

recovery that may or may not have materialized absent the Act is simply not enough. County of

Rensselaer, 80 N.Y.2d at 990-91. At most, such an interest amounts to a future “indirect impact”

on each political subdivision’s general finances. See In re World Trade Center Lower Manhattan

Disaster Site Litigation, 892 F.3d 108, 112 (2d Cir. 2018).

       Nor do the home-rule restrictions apply for the reasons stated below (see, infra, Point

IV). Where, as here, legislation was “enacted in furtherance of and bears a reasonable

relationship to a substantial State-wide concern,” it is not subject to home-rule restrictions, even

if the legislation simultaneously relates to the property, affairs or government of a local

government.” Patrolmen's Benevolent Assn. of City of N.Y. v. City of New York, 97 N.Y.2d 378,

388 (2001).

       In Tweed-New Haven Airport Authority v. Tong, 930 F.3d 65 (2d Cir. 2019), the Second

Circuit held that Connecticut’s analogous capacity rule did not prevent a political subdivision of

Connecticut from asserting that a state statute was preempted under the Supremacy Clause by a

federal statute because the argument “raises unique federalism concerns.” 930 F.3d at 73. But

even if the New York Court of Appeals were to adopt this preemption exception for New York’s

capacity rule,5 such an exception would not apply here. Unlike in Tweed, where the plaintiff




5
 The New York Court of Appeals has noted that other state and federal courts applying
analogous capacity rules have created an exception for cases asserting federal preemption, but

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argued preemption based on a federal statute that directly conflicted with a state statute, id. at 73-

74, the NY Subdivisions rely for their preemption argument on a constitutional provision that

confers no rights on them as government entities. See, infra, at Point III.

          In the absence of any applicable exception to New York’s capacity rule, the NY

Subdivisions “lack capacity to mount constitutional challenges to” the Act, and therefore their

attempt to challenge the Act should be rejected. City of New York, 86 N.Y.2d at 289 (1995).

   III.      NEW YORK’S STATUTE LIMITING THE ABILITY OF
             POLITICAL SUBDIVISIONS TO ASSERT AND MAINTAIN
             CLAIMS RELEASED IN STATEWIDE OPIOID
             SETTLEMENTS IS VALID AND ENFORCEABLE

          Even if the NY Subdivisions had the legal capacity to challenge the Act (which is not the

case), their challenge would fail. The NY Subdivisions assert that New York’s Mental Hygiene

Law § 25.18(d) is preempted by the Petition Clause of the First Amendment and violates the

Home Rule provision of the New York Constitution. Neither argument has any merit.

                       A.    The Petition Clause Does Not Preempt The Act

          The Petition Clause prohibits the enactment of any law “abridging . . . the right of the

people . . . to petition the Government for a redress of grievances.” U.S. Const. amend. I

(emphasis added). Historically, the right to petition, as Blackstone noted in 1765, was one

“appertaining to [the] individual.” 1 William Blackstone, Commentaries at *138 (emphasis

added) (cited by Carol Rice Andrews, A Right of Access to Court Under the Petition Clause of

the First Amendment: Defining the Right, 60 Ohio St. L.J. 557, 628 (1999)). The Petition Clause




has not yet considered whether to adopt such an exception for New York’s capacity rule. See
Matter of WTC, 30 N.Y.3d at 386, n.4.


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thus “protects the right of individuals to appeal to courts and other forums established by the

government for resolution of legal disputes.” Borough of Duryea, Pa. v. Guarnieri, 564 U.S.

379, 387 (2011) (emphasis added). This “right of access to courts for redress of wrongs” secured

to individuals “is an aspect of the First Amendment right to petition the government,” Sure-Tan,

Inc. v. NLRB, 467 U.S. 883, 896-97 (1984) (emphasis added), with “deep roots in the Anglo-

American legal tradition” affording “British subjects” and “colonial Americans” the “right to

petition both the British government and local legislative assemblies,” Jacoby & Meyets, LLP v.

The Presiding Justices of the First, Second, Third and Fourth Departments, 852 F.3d 178, 184-

85 (2d Cir. 2017).

       Because the NY Subdivisions are government entities, they have no right of court access

under the Petition Clause. Cf. Columbia Broad. Sys., Inc. v. Democratic Nat’l Comm., 412 U.S.

94, 139 (1973) (Stewart, J., concurring) (“The First Amendment protects the press from

governmental interference; it confers no analogous protection on the [g]overnment.”). The fact

that courts have extended the right of access to courts under the Petition Clause to groups of

individuals and corporations does not alter the analysis. See, e.g., BE & K Const. Co. v. N.L.R.B.,

536 U.S. 516, 525 (2002) (noting extension of right to access courts under the Petition Clause to

“groups” that use the courts to advocate views respecting resolution of interests vis-à-vis

competitors); California Motor Transport Co. v. Trucking Unlimited, 404 U.S. 508, 510-11

(1972) (holding right of access to courts extends to corporate plaintiff). The extension of the

right of court access to groups is based on the need to protect “collective activity undertaken to

obtain meaningful access to the courts” in order to petition the government for redress of wrongs.

United Transp. Union v. State Bar of Mich., 401 U.S. 576, 585 (1971). This rationale does not

apply where the entity seeking to invoke the right of court access is a government entity rather

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than the public; simply put, the Petition Clause does not confer a right on the government to

petition itself.6 As the NY Subdivisions have no right to court access guaranteed to them under

the Petition Clause, there is no conflict between § 25.18(d), which limits the authority of

“government entities” to bring lawsuits, and the Petition Clause, which protects the rights of the

public to bring lawsuits, Borough of Duryea, 564 U.S. at 387.

                     B.    The Petition Clause Does Not Preclude A State Legislature From
                           Imposing Limits On The Right To Bring A Cause Of Action

       Even where applicable, the Petition Clause protects only the right of access to courts, not

the right to assert any particular cause of action that the legislature may otherwise choose to

abrogate or limit. “[T]he Petition Clause protects the right of individuals to appeal to courts and

other forums established by the government for resolution of legal disputes,” Borough of

Duryea, 564 U.S. at 387, but “the right is ancillary to the underlying claim, without which a

plaintiff cannot have suffered injury by being shut out of court,” Christopher v. Harbury, 536

U.S. 403, 415 (2002); see also Sampson v. Garrett, 917 F.3d 880, 881 (6th Cir. 2019) (holding

that a successful access to court claim requires the plaintiff to have an underlying claim that is

arguable and non-frivolous). Under Christopher, “[t]he right to petition exists in the presence of



6
  The Supreme Court has “neither accepted nor rejected” the view “that governmental entities
have First Amendment rights.” Shurtleff v. City of Boston, Massachusetts, 142 S. Ct. 1583, 1599
(2022); see also Mosdos Chofetz Chaim Inc. v. Village of Wesley Hills, 701 F. Supp. 2d 568, 598
(S.D.N.Y. 2010) (discussing split among the circuit courts). Moreover, cases holding that a
municipality’s petitioning activity is immune from liability under the Noerr-Pennington antitrust
doctrine, see, e.g., County of Suffolk v. Long Island Lighting Co., 710 F. Supp. 1387, 1390
(E.D.N.Y. 1989), aff’d, 907 F.2d 1295 (2d Cir. 1990), have no applicability to the circumstance
presented here outside the context of antitrust, where a municipality is seeking to invalidate on
preemption grounds a state statute that places limitations on its ability to assert certain claims in
court. Cf. Suburban Restoration Co., Inc. v. ACMAT Corp., 700 F.2d 98, 101 (2d Cir. 1983)
(declining to follow dicta in prior Second Circuit cases characterizing the Noerr-Pennington
doctrine as applying to all First Amendment conduct).

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an underlying cause of action and is not violated by a statute that provides a complete defense to

a cause of action or curtails a category of causes of action.” City of New York v. Beretta U.S.A.

Corp., 524 F.3d 384, 397 (2d Cir. 2008).

         Accordingly, the right of access to courts for redress provided under the Petition Clause

does not conflict with the New York Legislature’s decision to “curtail[] a category of causes of

action” by authorizing the Attorney General to release such claims, and thereby extinguish them,

pursuant to § 25.18(d) as part of a statewide opioid settlement. Beretta, 524 F.3d at 397;

Hammond v. United States, 786 F.2d 8, 13 (1st Cir.1986) (noting that Congressional “alter[ation]

... [of] prior rights and remedies” does not provoke right-of-access concerns because “[t]here is

no fundamental right to particular state-law tort claims”); see also Friedman v. Bloomberg L.P.,

884 F.3d 83, 91 (2d Cir. 2017) (holding that a plaintiff's right of access to courts is not violated

by a state's long-arm statute that prevents plaintiff from bringing suit because “[t]here is nothing

to compel a state to exercise jurisdiction over a foreign [defendant] unless it chooses to do so,

and the extent to which it so chooses is a matter for the law of the state as made by its

legislature”) (cleaned up).

   IV.      THE ACT DOES NOT VIOLATE NEW YORK’S HOME-RULE PROVISION
            BECAUSE IT ADDRESSES A MATTER OF SUBSTANTIAL STATEWIDE
            CONCERN

         As the New York Court of Appeals has repeatedly held, legislation that “was enacted in

furtherance of and bears a reasonable relationship to a substantial State-wide concern” is not

subject to home-rule restrictions, even if the legislation simultaneously relates to the property,

affairs or government of a local government. Patrolmen's Benevolent Assn., 97 N.Y.2d at 388

(quoted by Empire State Chapter of Associated Builders & Contractors, Inc. v. Smith, 21 N.Y.3d

309, 318 (2013)). The Court of Appeals has adopted the test that Chief Judge Cardozo

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formulated nearly a century ago: “if the subject be in substantial degree a matter of State

concern, the Legislature may act, though intermingled with it are concerns of the locality.”

Empire State, 97 N.Y.2d at 316 (quoting Adler v. Deegan, 251 N.Y. 467, 491 (1929)).

       There can be no serious dispute that the Act – which facilitates statewide opioid

settlements by establishing a statewide fund to address the opioid crisis and has already resulted

in settlements that will provide in excess of $1.5 billion to all counties and several cities in New

York – bears “a reasonable relationship to a substantial State-wide concern.” Patrolmen’s

Benevolent Assn., 97 N.Y.2d at 388.

                                          CONCLUSION

       For the reasons set forth above, the New York Attorney General respectfully requests that

the Court grant the Settling Distributors’ Motion in its entirety.

Dated: New York, New York
       May 25, 2022
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